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                         IN THE UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    LEXINGTON DIVISION

In re:                                        )       Case No. 18-51740-grs
                                              )
EASTERN AIR FLOW, L.L.C.,                     )       Chapter 7
                                              )
                        Debtor.               )       Judge Gregory R. Schaaf

                       M&T BANK’S MOTION FOR RELIEF FROM STAY
                     OR ALTERNATIVELY, FOR ADEQUATE PROTECTION

         COMES NOW M&T Bank (“M&T”), a creditor, and for its Motion for Relief From Stay against

Debtor Eastern Air Flow, L.L.C. (“Debtor”) states as follows:

         1. This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157 and 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2).

         2. On September 21, 2018, Debtor filed a Petition for Relief under Chapter 7 of the Bankruptcy

Code in the United States Bankruptcy Court for the Eastern District of Kentucky.

         3. Debtor is the record owner of a 2013 Ford Transit (the “Vehicle”), with a Vehicle

Identification Number NM0LS7AN2DT164765, by virtue of a Certificate of Title issued on or about

October 30, 2015. A true and accurate copy of the Vehicle’s Title Lien Statement is attached hereto as

Exhibit A.

         4. M&T has a first priority lien on the Vehicle by virtue of a Retail Installment Contract and

Financing Agreement (“Agreement”) executed between the Debtor and M&T on or about October 30,

2015. A copy of the Retail Installment Contract and Financing Agreement is attached hereto as Exhibit

B.

         5. The Vehicle is currently in Debtor’s possession. Debtor has not indicated its intentions

Regarding the Vehicle.

         6. As of November 14, 2018, Debtor’s account with M&T was past due, with a total payoff
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Amount including accrued interest charges of $9,523.51.

       7. Debtor is in default under the Agreement for failure to make the required payments.

       8. Debtor is in default under the Agreement because debtor filed for Chapter 7 Bankruptcy.

       9. The estimated value of the Vehicle is $6,152.00 pursuant to the NADA Value Guide.

       10. M&T wishes to exercise its right to repossess and resell the Vehicle, based upon its first

priority lien and secured interest in the Vehicle, and the absence of any other valid liens or interests in

the Vehicle.

       11. The Vehicle does not serve any purpose in Bankruptcy.

       12. M&T’s interests are not adequately protected, insofar as the Vehicle cannot be sold for as

much as Debtor’s total account payoff amount.

       13. If M&T is not permitted to proceed with repossession and resale of the Vehicle, M&T will

suffer irreparable injury, loss, and damage, including because the Vehicle continues to depreciate until

repossessed and resold.

       14. Accordingly, M&T is entitled to relief from the automatic stay under 11 U.S.C. § 362

because the debtor has no equity in the Vehicle and it is not necessary for effective continuation of the

bankruptcy proceedings.

       15. The automatic stay imposed by 11 U.S.C. § 362(a) should be terminated and annulled as to

the Vehicle and any proceeds thereof, including without limitation, any insurance payable by reason of

loss or damage to the Property, effective immediately upon the entry of the order, to allow M&T to

exercise all of its rights and remedies at law or in equity, under the Agreement, and all other applicable

documents, including without limitation, realization of all other rights available under the Agreement

documents with respect to the secured collateral.

       16. In addition, M&T requests the Court to order that the stay provided for under Rule
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4001(a)(3) of the Federal Rules of Bankruptcy Procedure be waived, as continued depreciation of the

Vehicle will further limit M&T’s recovery of its secured interest.

       17. Alternatively, if the stay is not vacated to permit M&T to resell the Vehicle as aforesaid,

then M&T requests the Court to order Debtor to provide immediate adequate protection to M&T to

protect the Vehicle.

NOTICE OF M&T BANK’S MOTION FOR RELIEF FROM STAY AND RIGHT TO OBJECT
                   WITH OPPORTUNITY FOR HEARING

       NOTICE IS HEREBY GIVEN that if you fail to file a written objection to the above motion with

the Clerk of the U.S. Bankruptcy Court for the Eastern District of Kentucky (Lexington Division) on or

before December 27, 2018, said motion will be granted by entry of an order to be prepared and

submitted by counsel for movant/applicant.

       If a written objection is timely filed with the clerk of the Bankruptcy Court (PO Box 1111

Lexington, KY 40588-1111), a hearing will be scheduled on January 17, 2019, at 9:00 a.m., in the U.S.

Bankruptcy Court, Community Trust Building, 100 East Vine Street, 2nd Floor Courtroom, Lexington,

KY 40507. A Hearing will not be held on this motion unless an objection and/or response is timely filed

with the clerk.

       WHEREFORE, M&T Bank prays for the relief set forth above.



                                                     Respectfully submitted,

                                                     __/s/Benjamin N. Hutnick________________
                                                     Benjamin N. Hutnick, Pro Hac Vice
                                                     15280 Metcalf Avenue
                                                     Overland Park, Kansas 66223
                                                     P: (913)649-1555
                                                     F: (913)652-9474
                                                     bhutnick@bermanrabin.com
                                                     Attorney for M&T Bank
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                                   CERTIFICATE OF MAILING

       I hereby certify that on December 13, 2018, the above and foregoing Motion for Relief From
Stay, or Alternatively, For Adequate Protection was filed with the Court via CM/ECF, and that a true
and correct copy was sent via U.S. First Class Mail to the following:

       SEE ATTACHED MAILING MATRIX


                                                  __/s/Benjamin N. Hutnick________________
                                                  Benjamin N. Hutnick, Pro Hac Vice
                                                  15280 Metcalf Avenue
                                                  Overland Park, Kansas 66223
                                                  P: (913)649-1555
                                                  F: (913)652-9474
                                                  bhutnick@bermanrabin.com
                                                  Attorney for M&T Bank
Label Matrix forCase     18-51740-grs
                  local noticing        Doc 23    Filed
                                             Eastern     12/13/18
                                                     Air Flow, L.L.C. Entered 12/14/18 13:48:40       Desc Main
                                                                                        Lexington Office
0643-5                                            Document
                                             5721 KY Route 404       Page 5 of 7        US Bankruptcy Court
Case 18-51740-grs                             David, KY 41616-8301                           PO Box 1111
Eastern District of Kentucky                                                                 Lexington, KY 40588-1111
Lexington
Tue Nov 20 15:32:39 EST 2018
ADAM S. HALL, ESQ.                            ADVANCED DISPOSAL LLC                          APPALACHIAN WIRELESS
VANOVER HALL & BARTLEY PSC                    C/O MICHAEL KWAITHOWSKI                        ATTN: ANY OFFICER
126 TRIVETTE DRIVE, #302                      CAINE & WEINER                                 PO BOX 630734
PIKEVILLE KY 41501-1275                       5805 SEPULVEDA BLVD                            CINCINNATI OH 45263-0734
                                              SHERMAN OAKS CA 91411-2546

(p)BB AND T                                   BROCK MCVEY                                    CARRIER ENTERPRISE, LLC
PO BOX 1847                                   PO BOX 55487                                   P.O. BOX 32156
WILSON NC 27894-1847                          LEXINGTON KY 40555-5487                        NEW YORK NY 10087-2156



CINTAS                                        CITIZENS BANK OF KENTUCKY SUCCESSOR IN INTER   CLAYTON E. HOLLAND, JR.
P.O. BOX 630910                               TO CITIZENS NATIONAL BANK                      106 SCOTT PERRY DRIVE
CINCINNATI OH 45263-0910                      C/O JILL HALL ROSE ESQ                         PAINTSVILLE KY 41240-9000
                                              ROSE LAW OFFICES
                                              154 N ASHLAND AVE
                                              LEXINGTON KY 40502-1509
CORKEN STEEL                                  EKB-TV                                         ERNEST V. THOMAS III
C/O ROBERT RICHARDSON                         P.O. BOX 2200                                  THOMAS & THOMAS ATTORNEYS AT LAW
7920 KENTUCKY DRIVE                           PIKEVILLE KY 41502-2200                        2323 PARK AVE.
FLORENCE KY 41042-2915                                                                       CINCINNATI OH 45206-2711


FERGUSON ENTERPRISES                          FESCO                                          FIRE ALARM & SECURITY SYSTEM CO
FDBA BROCK MCVEY                              868 DR. W.J. HODGE STREET                      C/O BORNSTEIN& BORNSTEIN PSC
C/O TRUE GUARNIERI AYER LLP                   LOUISVILLE KY 40210-1092                       4018 BISHOP LANE
124 CLINTON STREET                                                                           LOUISVILLE KY 40218-4539
FRANKFORT KY 40601-1949

FIRST COMMONWEALTH BANK                       FIRST GLOBAL CAPITAL                           FLOYD CTY BROADCASTING - WMDJ FM-100
3112 N. ARNOLD AVENUE                         C/O ALLEN REED                                 P.O. BOX 1530
PRESTONSBURG KY 41653-1260                    1250 EAST HALLANDALE BEACH BLVD                MARTIN KY 41649-1530
                                              SUITE 406
                                              HALLANDALE BEACH FL 33009-4624

FTL CAPITAL PARTNERS, LLC                     GILSON PLAZA, LLC                              GILSON PLAZA, LLC
AKA FTL FINANCE                               418 ADAIR ROAD                                 C/O RICK QUEEN
C/O LATHROP GAGE - BEN C. STRUBY              LEXINGTON KY 40502-2425                        418 ADAIR ROAD
2345 GRAND BLVD., SUITE 2200                                                                 LEXINGTON KY 40502-2425
KANSAS CITY MO 64108-2618

GPS INSIGHT                                   GRAY TELEVISION GROUP                          GRAY TELEVISION GROUP, INC.
7201 E. HENKEL WAY #400                       DBA WKYT AND WYMT                              1801 HALSTEAD BLVD
SCOTTSDALE AZ 85255-9678                      4370 PEACHTREE ROAD NE                         TALLAHASSEE FL 32309-3431
                                              ATLANTA GA 30319-3056


HAJOCA CORPORATION                            HUGHES SUPPLY                                  I C SYSTEM COLLECTIONS
C/O DAVID O’BRIEN, ATTORNEY @                 990 PEDIGO WAY                                 PO BOX 64437
PO BOX 162                                    BOWLING GREEN KY 42103-7171                    ST. PAUL MN 55164-0437
CLIFTON HEIGHTS PA 19018-0162
INTERNAL REVENUECase
                 SERVICE18-51740-grs   Doc 23    Filed
                                            JACKSON     12/13/18
                                                    SYSTEMS,  LLC   Entered 12/14/18 13:48:40       Desc Main
                                                                                      JARYD CRUM, ATTORNEY
PO BOX 7346                                      Document
                                            5418 ELMWOOD AVE.     Page 6 of 7         BLAIR PHILLIP
PHILADELPHIA PA 19101-7346                   INDIANAPOLIS IN 46203-6025                PO BOX 339
                                                                                       PAINTSVILLE KY 41240-0339


JUSTIN TODD TROUT                            KENTUCKY EMPLOYER’S MUTUAL INSURANCE CO   KENTUCKY LABOR CABINET
5721 KY RT 404                               C/O JOHN E. HINKEL, JR., ESQ.             DEPT. OF WORKERS’ CLAIMS
DAVID KY 41616-8301                          FOWLER BELL PLLC                          657 CHAMBERLIN AVE.
                                             300 W. VINE STREET, #600                  FRANKFORT KY 40601-4220
                                             LEXINGTON KY 40507-1660

KENTUCKY REVENUE CABINET                     KOCHAIR                                   LMR CUSTOM HOME CONSTRUCTION LLC
ATTN: LEGAL DEPT - BANKRUPTCY                1900 W. LLOYD EXPRESSWAY                  C/O CARL D EDWARDS JR ESQ
PO BOX 5222                                  EVANSVILLE IN 47712-7506                  300 E MAIN STREET SUITE 360
FRANKFORT KY 40602-5222                                                                LEXINGTON KY 40507-1564


M&T BANK                                     M&T BANK                                  MARTIN GAS, INC.
P.O. BOX 1508                                PO BOX 17292                              P.O. BOX 783
BUFFALO, NY 14240-1508                       BALTIMORE MD 21297-0200                   HINDMAN KY 41822-0783



MODERN CONSTRUCTION, INC.                    NATIONAL PEN COMPANY                      NATIONWIDE
P.O. BOX 187                                 P.O. BOX 847203                           328 HIGH LAND PARK DR.
STANVILLE KY 41659-0187                      DALLAS TX 75284-7203                      RICHMOND KY 40475-3487



PHIL ALLEN, ATTORNEY                         PREMIER CAPITAL FUNDING LLC               R.E. MICHEL COMPANY
RICHARD JAMES & ASSOC.                       C/O BANKRUPTCY DEPARTMENT                 ONE R.E. MICHEL DRIVE
4317 NE THURTON WAY, #270                    9265 4TH AVE                              GLEN BURNIE MD 21060
VANCOUVER WA 98662-6673                      BROOKLYN NY 11209-7006


R.L. CRAIG COMPANY, INC.                     RICH FATALO, ATTORNEY                     SINCLAIR BROADCAST GROUP - WDKY
11524 COMMONWEALTH DRIVE                     400 W. CUMMINGS PARK, STE 4450            P.O. BOX 206270
LOUISVILLE KY 40299-2340                     WOBURN MA 01801-6594                      DALLAS TX 75320-6270



SQUARE CAPITAL                               STATE ELECTRIC SUPPLY                     SUNBELT RENTALS
1455 MARKET STREET, #600                     PO BOX 890889                             C/O TUCKER ALBIN & ASSOCIATES INC
SAN FRANCISCO CA 94103-1332                  CHARLOTTE NC 28289-0889                   1702 N COLLINS BLVD SUITE 100
                                                                                       RICHARDSON TX 75080-3662


THE UPS STORE                                THERMAL EQUIPMENT SALES, INC.             THOMAS & THOMAS ATTORNEYS AT LAW
4145 N. MAYO TRAIL                           680 BIZZELL DRIVE                         2323 PARK AVE.
PIKEVILLE KY 41501-3211                      LEXINGTON KY 40510-1003                   CINCINNATI OH 45206-2711



TRANE SUPPLY                                 (p)US BANK                                U.S. Trustee
115 49TH STREET                              PO BOX 5229                               100 E Vine St #500
BROOKLYN NY 11232-4229                       CINCINNATI OH 45201-5229                  Lexington, KY 40507-1441
VALASSIS DIRECT Case
                MAIL 18-51740-grs              Doc 23    Filed
                                                    VERIZON     12/13/18 Entered 12/14/18 13:48:40
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14550 TORREY CHASE BLVD. #500                            Document           Page
                                                    524 W. NEW CIRCLE ROAD, STE. 100 7 of 7 250 12TH STREET WEST
HOUSTON TX 77014-1018                                  LEXINGTON KY 40511-1845                              HUNTINGTON WV 25704-1638



WASTE CONNECTIONS OF KY INC                            WDOC, INC.                                           WELLS FARGO BANK
PO BOX 808                                             P.O. BOX 345                                         800 WALNUT, 6TH FLOOR
LILY KY 40740-0808                                     PRESTONSBURG KY 41653-0345                           DES MOINES IA 50309-3891



WELLS FARGO BANK, NA                                   WHAYNE SUPPLY COMPANY                                WQHY-FM
C/O MILLSAP & SINGER LLC                               10001 LINN STATION ROAD                              P.O. BOX 345
612 SPIRIT DRIVE                                       LOUISVILLE KY 40223-3810                             PRESTONSBURG KY 41653-0345
CHESTERFIELD MO 63005-1259


James D. Lyon                                          Matthew B Bunch
100 E. Vine #404                                       Bunch & Brock, PSC
Lexington, KY 40507-1442                               271 W. Short St., #805
                                                       Lexington, KY 40507-1217




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


BB&T                                                   (d)BB&T BANK                                         U.S. BANK NATIONAL ASSOCIATION
PO BOX 1847                                            PO BOX 1290                                          BANKRUPTCY DEPARTMENT
WILSON, NC 27894                                       WHITEVILLE NC 28472                                  PO BOX 5229
                                                                                                            CINCINNATI, OHIO 45201-5229


(d)US BANK NA
PO BOX 3427
OSHKOSH WI 54903




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)U.S. Bank National Association                      (u)HAZARD FIRE & SAFETY                              End of Label Matrix
                                                       3962 KY 15                                           Mailable recipients   70
                                                       KY 41707                                             Bypassed recipients    2
                                                                                                            Total                 72
